                    Case 4:21-mj-70900-PMRG Document 8 Filed 05/26/21 Page 1 of 29
AO 91 (Rev. 11/11) Criminal Complaint

                                                                                                                         
                                     UNITED STATES DISTRICT COURT
                                                                                                                         May 26, 2021
                                                                 for the
                                                                                                                     
                                                     Northern District
                                                   __________  DistrictofofCalifornia
                                                                            __________                            
                                                                                                                  
                  United States of America                          )                                                    
                             v.                                     )
  JAVIER CASTRO BANEGAS-MEDINA, ELMER
                                                                    )      Case No. 4:21-mj-70900-MAG
        ROSALES-MONTES, JOSE IVAN                                   )
 CRUZ-CACERES, JIHAD JAD TAWASHA, Redacted                          )
  Redacted         cont'd on attached sheet)                        )
                                                                    )
                          Defendant(s)


                                                   CRIMINAL COMPLAINT
         I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of           April 21, 2021 to May 19, 2021        in the county of              Alameda                   in the
     Northern          District of             California       , the defendant(s) violated:

            Code Section                                                      Offense Description
21 U.S.C. §§ 846, 841(b)(1)(B)                   Conspiracy to Distribute More than 40 Grams of Fentanyl (against Castro,
                                                 Rosales-Montes, Cruz-Caceres, Redacted                           )

21 U.S.C. § 841(a)(1) & (b)(1)(B)                Possession with Intent to Distribute More than 40 Grams of Fentanyl (against
                                                 Tawasha and Redacted )

21 U.S.C. § 841(a)(1) & (b)(1)(C)                Possession with Intent to Distribute Fentanyl (against Laughren)


         This criminal complaint is based on these facts:
See attached affidavit of FBI TFO Joshua Gilfry.




         ✔ Continued on the attached sheet.
         ’

                                                                                                 /s/ Joshua Gilfry
                                                                                               Complainant’s signature
         Approved as to form _/s/ Noah Stern__
                                                                                              Joshua Gilfry, FBI TFO
                      AUSA _Noah Stern____
                                                                                                Printed name and title

Sworn to before me by telephone.


Date:             05/24/2021
                                                                                                  Judge’s signature

City and state:                         Oakland, California                   Hon. Kandis A. Westmore, U.S. Magistrate Judge
                                                                                                Printed name and title
     Case 4:21-mj-70900-PMRG Document 8 Filed 05/26/21 Page 2 of 29




Redacted
      , and WILLIAM JOSEPH LAUGHREN JR.
        Case 4:21-mj-70900-PMRG Document 8 Filed 05/26/21 Page 3 of 29




                 AFFIDAVIT IN SUPPORT OF CRIMINAL COMPLAINT

       I, Joshua Gilfry, a Task Force Officer (“TFO”) of the Federal Bureau of Investigation

(“FBI”), being duly sworn, state:

                                        I. INTRODUCTION

                I submit this affidavit in support of an application under Rule 4 of the Federal

Rules of Criminal Procedure for and arrest warrants authorizing the arrest of the following

individuals (collectively the “Target Subjects”):

           a. Javier CASTRO Banegas-Medina (“CASTRO”), Elmer ROSALES-MONTES

                (“ROSALES-MONTES”), and Jose Ivan CRUZ-CACERES (“CRUZ-

                CACERES”) for conspiracy to distribute more than 40 grams of a mixture and

                substance containing a detectable amount of N-phenyl-N- [ 1- ( 2-phenylethyl) -4-

                piperidinyl ] propanamide (commonly known and hereinafter referred to as

                “fentanyl”), in violation of Title 21, United States Code, Sections 846 and

                841(b)(1)(B)(vi) beginning on a date unknown but no later than April 21, 2021

                and continuing through May 19, 2021 in the Northern District of California;

           b. Jihad Jad TAWASHA (“TAWASHA”) for possession with intent to distribute

                more than 40 grams of a mixture and substance containing fentanyl, in violation

                of Title 21, United States Code, Section 841(a)(1) and (b)(1)(B)(vi), on or about

                April 27, 2021, in the Northern District of California;

           c.   Redacted




           d.   Redacted


GILFRY AFF. IN SUPPORT OF CRIMINAL COMPL.
[UNDER SEAL]                          1
        Case 4:21-mj-70900-PMRG Document 8 Filed 05/26/21 Page 4 of 29




               Redacted
                                                                     and

           e. William Joseph LAUGHREN Jr. (“LAUGHREN”), for possession with intent to

               distribute a mixture and substance containing fentanyl, in violation of Title 21,

               United States Code, Section 841(a)(1) and (b)(1)(C), on or about May 12, 2021,

               in the Northern District of California.

                                II. SOURCES OF INFORMATION

               This affidavit is submitted for the limited purpose of securing a criminal

complaint and arrest warrants. I have not included every fact known to me concerning this

investigation. Instead, I have set forth only the facts necessary to establish probable cause that

the violations of the federal laws identified above have occurred.

               I have based my statements in this affidavit on my training and experience,

personal knowledge of the facts and circumstances obtained through my participation in this

investigation, information provided by other agents, law enforcement officers, and draft

translations of intercepted communications prepared by Spanish-speaking monitors, information

provided by reports of other law enforcement officers, information gathered through law

enforcement surveillance efforts, information provided by photographic and/or video-recorded

evidence, and information provided by records and databases. I believe these sources to be

reliable. Where I refer to conversations and events, I often refer to them in substance and in

relevant part rather than in their entirety or verbatim, unless otherwise noted. This affidavit also

reflects my current understanding of facts relating to this investigation, but my understanding

may change in the future as the investigation proceeds.

                                   III. AFFIANT BACKGROUND

               Your affiant, Joshua Gilfry, has been a police officer since September 24, 2012. I

am employed with the Concord Police Department (“CPD”) and I am a sworn peace officer

within the meaning of California Penal Code Section 830.1. I am currently assigned to the

Federal Bureau of Investigation (hereinafter “the FBI”) Safe Streets Violent Gang Taskforce. I

GILFRY AFF. IN SUPPORT OF CRIMINAL COMPL.
[UNDER SEAL]                          2
        Case 4:21-mj-70900-PMRG Document 8 Filed 05/26/21 Page 5 of 29




am cross designated as a Special Federal Officer / Special Deputy US Marshal of the United

States Department of Justice, deputized pursuant to Title 21 and Title 18. My primary

responsibilities as a Safe Streets Taskforce Officer is to identify and investigate trends in violent

crimes committed by members of criminal street gangs throughout Contra Costa County.

               Since being sworn as a FBI Task Force Officer (hereinafter “TFO”), I have

received training and/or gained professional experience in: basic narcotic investigations,

familiarization with U.S. narcotics laws, financial investigations and money laundering,

identification and seizure of drug-related assets, organized crime investigations, physical and

electronic surveillance, informant development, Title III investigations, and undercover

operations.

               During the course of my law enforcement career, I have been involved in

investigations of numerous federal and state criminal offenses. I have participated in numerous

investigations of illicit drug trafficking organizations. These investigations have included the

use of confidential sources (CSs), undercover agents, and sources of information (collectively

“Sources”); toll records; physical surveillances; and the execution of search warrants. These

investigations have also included the unlawful importation of controlled substances, possession

with intent to distribute controlled substances, and the distribution of controlled substances, and

the related laundering of monetary instruments, the conducting of monetary transactions

involving the proceeds of specified unlawful activities, and conspiracies associated with criminal

narcotics offenses. These investigations have resulted in numerous state and/or federal

prosecutions of individuals who have possessed, imported, or distributed controlled substances,

as well as the seizure of those illegal drugs and the proceeds from the sale of those illegal drugs.

               I have participated in surveillance of narcotics traffickers. During these

surveillances, I have personally observed narcotics transactions, counter-surveillance techniques,

and the methods that narcotics traffickers use to conduct clandestine meetings. I have

participated in state and federal investigations in which court-authorized wire interceptions were

used.

GILFRY AFF. IN SUPPORT OF CRIMINAL COMPL.
[UNDER SEAL]                          3
        Case 4:21-mj-70900-PMRG Document 8 Filed 05/26/21 Page 6 of 29




                I have participated in Organized Crime Drug Enforcement Task Force (OCDETF)

investigations. The OCDETF program is part of the United States Attorney General’s drug

strategy to reduce the availability of drugs by disrupting major trafficking organizations through

joint-agency collaboration.

                I have been involved in the execution of numerous state and/or federal narcotics-

related search warrants. As a result, I have encountered and become familiar with the various

tools, methods, trends, paraphernalia, and related articles used by drug traffickers and trafficking

organizations in their efforts to import, conceal, manufacture, and distribute controlled

substances. I am familiar with the appearance of fentanyl, heroin, cocaine, methamphetamine,

marijuana, MDMA, and other controlled substances. I am familiar with and aware of the

terminology used by narcotics traffickers concerning narcotics and narcotics dealing.

                I have interviewed numerous drug dealers, users, and confidential informants, and

have discussed with them the lifestyle, appearances, and habits of drug dealers and users, the use

and meaning of coded language and the concealment of assets. I have become familiar with the

manner in which narcotics traffickers smuggle, transport, store, and distribute narcotics, as well

as how they collect and launder drug proceeds. I am also familiar with the manner in which

narcotics traffickers use telephones, cellular telephone technology, pagers, coded or slang-filled

telephone conversations, false or fictitious identities, and other means to facilitate their illegal

activities and thwart law enforcement investigations.

                Prior to my transfer to the FBI Safe Streets Task Force, I was a detective in the

CPD Violence Suppression Unit. My primary role in this capacity was to investigate narcotic and

gang crimes within Contra Costa County.

                Prior to my assignment in the Violence Suppression Unit, I served on the Special

Enforcement Team (SET). SET’s primary duties include street-level narcotics, prostitution, and

gang crimes. I also worked uniform patrol and am a current member of the Special Weapons and

Tactics (SWAT) team.

                I attended the Contra Costa County Sheriff’s Office P.O.S.T. Accredited Police

GILFRY AFF. IN SUPPORT OF CRIMINAL COMPL.
[UNDER SEAL]                          4
        Case 4:21-mj-70900-PMRG Document 8 Filed 05/26/21 Page 7 of 29




Academy in Pittsburg, California. The P.O.S.T. Academy includes 1,020 hours of training, with

roughly 40 hours devoted to identifying controlled substances and understanding the laws

pertaining to controlled substances. I attended an 80-hour Robert Presley Investigation (ICI)

Major Drug Investigation Course.

               During my career, I have conducted preliminary and follow-up investigations into

a variety of crimes. The investigations involved preparing police reports, collection of evidence,

arresting suspects, interviewing victims and witnesses, interrogating suspects, and testifying in

court proceedings. The crimes investigated include being under the influence of a controlled

substance, possession of controlled substances, and possession and transportation of controlled

substances.

               I have written and assisted with the execution of search warrants that have

resulted in the finding and collecting of the desired evidence sought in the warrants related to

illegal narcotics possession and possession for sales. I have arrested numerous subjects for being

under the influence of a controlled substance, possession of a controlled substance, and

possession of a controlled substance for sales.

               I have testified five times as an expert in the identification of heroin as well as the

sale of heroin in Contra Costa County Superior Court, in California, and two occasions as an

expert in the identification of methamphetamine as well as the sale of methamphetamine. I have

a good working knowledge of controlled substances and related crimes based upon the

foregoing.

               I am familiar with the facts and circumstances of the investigation through my

personal participation. I have also learned other things about this investigation from fellow law

enforcement officers and agents. Unless otherwise noted, wherever, in this affidavit, I assert that

a statement was made, the information was provided by a FBI agent or task force officer, law

enforcement officer, or witness who may have had either direct or hearsay knowledge of that

statement.

               I am an investigator and law enforcement officer of the United States within the

GILFRY AFF. IN SUPPORT OF CRIMINAL COMPL.
[UNDER SEAL]                          5
         Case 4:21-mj-70900-PMRG Document 8 Filed 05/26/21 Page 8 of 29




meaning of 18 U.S.C. § 2510(7). I am empowered by law to conduct investigations, to execute

search warrants, and to make arrests for offenses of Federal law, including the Target Offenses.

                                   IV. APPLICABLE STATUTES

               Title 21, United States Code, Section 846 prohibits, among other things,

attempting or conspiring to distribute, possess with intent to distribute, or manufacture a

controlled substance, including fentanyl.

               The elements of a violation of conspiracy to distribute fentanyl (21 U.S.C.

§§ 846, 841(a)(1) an (b)(1)(B)(vi)) are as follows: (1) there was an agreement between two or

more persons to distribute fentanyl, and (2) the defendant joined in the agreement knowing of its

purpose and intending to help accomplish that purpose, and (3) the conspiracy involved 40 grams

or more of a mixture or substance containing fentanyl.

               Title 21, United States Code, Section 841(a)(1) and (b)(1)(B)(vi) prohibits a

person from knowingly possessing with intent to distribute forty grams or more of a mixture or

substance containing a detectable amount of fentanyl. Section 841(b)(1)(C) prohibits a person

from knowingly possessing with intent to distribute any amount of a mixture or substance

containing a detectable amount of fentanyl.

               The elements of a violation of possession with intent to distribute forty grams or

more of fentanyl (21 U.S.C. § 841(a)(1) and (b)(1)(B)(vi)) are as follows: (1) the defendant

knowingly possessed forty grams or more of a mixture or substance containing a detectable

amount of fentanyl, and (2) the defendant possessed it with the intent to distribute it to another

person. The elements of a violation of section 841(b)(1)(C) are the same except there is no

requirement that the amount of the mixture or substance containing fentanyl be more than forty

grams.




GILFRY AFF. IN SUPPORT OF CRIMINAL COMPL.
[UNDER SEAL]                          6
           Case 4:21-mj-70900-PMRG Document 8 Filed 05/26/21 Page 9 of 29




                           V. STATEMENT OF PROBABLE CAUSE

       A.       Overview of Investigation

                The FBI, Drug Enforcement Administration (“DEA”), and CPD (collectively, the

“Investigative Agencies”), are investigating CASTRO and members of his drug trafficking

organization (hereinafter referred to as the “CASTRO DTO”), which distribute suspected

fentanyl 1 in the Bay Area. The CASTRO’s drug trafficking activities are largely based in

Oakland and San Leandro, California, but his re-distributors/customers 2 are located in the

Northern District of California and beyond, as detailed below.

                On April 21, 2021, the Honorable Jon S. Tigar signed an order authorizing the

interception of wire and electronic communications over two telephone lines used by CASTRO

(referred to herein as the “Target Telephones”). Agents subsequently began intercepting

communications to and from CASTRO via the Target Telephones. Through the wire

interceptions, surveillance, and other investigative activities, investigators learned that CASTRO

conspired with ROSALES-MONTES and CRUZ-CACERES to distribute large amounts of

fentanyl to numerous re-distributors, who purchase fentanyl from CASTRO to distribute it to

others, including TAWASHA, Redacted                                                 , and

LAUGHREN.

                1.     Fentanyl is a Highly Potent and Dangerous Narcotic
                Based on my training and experience, I know that fentanyl, a Schedule II

controlled substance, is a highly potent synthetic opioid. It is about 50 times stronger than heroin

       1
          As detailed in subsequent sections of this Affidavit, law enforcement intercepted
numerous deliveries of suspected fentanyl, which later tested presumptively positive for the
presence of the controlled substance, by the CASTRO DTO and its re-distributors. However,
when I refer generally to wiretap calls and the overall investigation, I will often use the term
“suspected fentanyl” herein in an abundance of caution. Nevertheless, I believe the CASTRO
DTO operates either largely or exclusively in fentanyl trafficking based on the investigation to
date. Further, I know that is unlikely that re-distributors/customers of the CASTRO DTO would
continue to place additional orders if the distributed substance was a sham substance.
        2
          The term “re-distributors” is used herein to reflect customers that purchased suspected
fentanyl from the CASTRO DTO in significant quantities or frequencies consistent with re-
selling fentanyl to other customers, as opposed to user-quantities, during the wiretap
investigation to date.

GILFRY AFF. IN SUPPORT OF CRIMINAL COMPL.
[UNDER SEAL]                          7
        Case 4:21-mj-70900-PMRG Document 8 Filed 05/26/21 Page 10 of 29




and about 100 times stronger than morphine. Fentanyl can be distributed in many forms,

including, powder, patches, and mixed into counterfeit pills. Data compiled by the DEA shows

that availability of fentanyl in the United States has drastically increased from 2013 to the

present. 3 According to the Centers of Disease Control and Prevention (“CDC”) in 2019, opioids

were involved in 49,860 overdose deaths. 4 Synthetic opioids, such as fentanyl, accounted for

nearly 73% of all opioid-involved deaths in 2019. Two out of three of those overdoses involved

synthetic opioids such as fentanyl. 5 According to the CDC data, the largest increase in death

rates from 2018 to 2019 involving synthetic opioids, 67.9%, occurred in the Western United

States. As described below, the CASTRO DTO supplies fentanyl in powder form and moves

large quantities of this narcotic.

                Based on my training and experience, and my involvement in this investigation, I

know that fentanyl is often referred to by drug traffickers by the color emitted when the drug is

burnt. For example, some fentanyl emits a blue color when lit. This is often referred to by drug

traffickers and users as “blue” or “azul” (i.e., the Spanish word for blue). I also know that other

varieties/strength of fentanyl are commonly referred to by drug dealers as “yellow,” “pink,”

“purple,” and “green.” This investigation revealed that the CASTRO DTO sells blue, pink,

purple, green, and yellow varieties of suspected fentanyl.

                2.      The CASTRO DTO Sells Numerous Types of Fentanyl and Operates
                        Primarily from Two Locations in the East Bay
                The investigation has revealed that CASTRO distributes fentanyl from his two

residences, which are located on 45th Avenue in Oakland, California and Washington Avenue in




        3
          Drug Enforcement Administration. 2019 National Drug Threat Assessment, December
2019, pp. 9-11, available at https://www.dea.gov/sites/default/files/2020-02/DIR-007-
20%202019%20National%20Drug%20Threat%20Assessment%20-%20low%20res210.pdf (last
accessed Dec. 7, 2020).
        4
          Synthetic Opioid Overdose Data, Centers for Disease Control and Prevention, available
at https://www.cdc.gov/drugoverdose/data/synthetic/index.html (last accessed May 20, 2020).
        5
          Drug Overdose Deaths, Centers for Disease Control and Prevention, available at
https://www.cdc.gov/drugoverdose/data/statedeaths.html (last accessed May 20, 2020).

GILFRY AFF. IN SUPPORT OF CRIMINAL COMPL.
[UNDER SEAL]                          8
        Case 4:21-mj-70900-PMRG Document 8 Filed 05/26/21 Page 11 of 29




San Leandro, California. 6 Based on communications intercepted to and from the Target

Telephones, I estimate that CASTRO has filled over 100 orders for suspected fentanyl between

approximately April 21, 2021 and May 19, 2021.

                 In a typical transaction, a re-distributor will place a phone call or text message to

CASTRO requesting a specific amount of suspected fentanyl, often referred to by the weight,

dollar amount and/or color(s) desired. 7 The re-distributor and CASTRO will then discuss a time

and location for the delivery or pickup of the suspected fentanyl. If CASTRO is at his residence

in San Leandro, he or one of his two runners—ROSALES-MONTES and CRUZ-CACERES—

will usually meet the customer at the “gas station” or “car wash,” which is located nearby. The

customer will text or call CASTRO when he or she is at the designated meeting location and

CASTRO or one of his couriers will meet the customer and engage in a hand-to-hand

transaction. 8

                 After observing multiple hand-to-hand transactions and intercepting

communications about suspected drug trafficking, law enforcement conducted a vehicle stop on

one of the suspected re-distributors. Inside the vehicle, they found powdery substance suspected

to be fentanyl in the approximate quantity ordered in the intercepted communications.

Subsequent presumptive testing on at least one of the seized items was positive for the presence

of fentanyl.

        B.       Core Members of the CASTRO DTO: CASTRO Conspires with ROSALES-
                 MONTES and CRUZ-CACERES to Distribute Fentanyl

                 Investigators have intercepted several calls between CASTRO and re-distributors



        6
          Oakland and San Leandro are both in the Northern District of California. Investigators
conducting physical surveillance and monitoring location information from CATRO’s
telephones have observed that CASTRO generally stays overnight at these locations.
        7
          While CASTRO sometimes speaks with re-distributors in code, in some phone calls the
word “fent,” which I believe to be short for fentanyl, is explicitly stated.
        8
          A “hand-to-hand” transaction or drug-deal is typically an in-person exchange of
narcotics for cash. Based on my training and experience, this is a common manner of
transferring drugs to avoid involving third-parties and/or commercial delivery services, which
run the risk of others uncovering the illegal conduct.

GILFRY AFF. IN SUPPORT OF CRIMINAL COMPL.
[UNDER SEAL]                          9
       Case 4:21-mj-70900-PMRG Document 8 Filed 05/26/21 Page 12 of 29




in which CASTRO stated that “guys” would transport the product ordered to the re-distributor.

On numerous occasions after these phone conversations, investigators observed one or both of

two men leave one of CASTRO’s residence. Investigators later identified these men as

ROSALES-MONTES and CRUZ-CACERES through physical surveillance, information

ROSALES-MONTES and CRUZ-CACERES provided to law enforcement, and DMV records,

as well as intercepted communications via the Target Telephones. On one occasion, as described

below, investigators intercepted approximately eight ounces of fentanyl that was being

transported by ROSALES-MONTES and CRUZ-CACERES to a re-distributor.

               1.     Investigators Intercept a Fentanyl Order Placed by UM-5074 to
                      CASTRO and Interdict its Delivery by ROSALES-MONTES and CRUZ-
                      CACERES

               On or about April 29, 2021, at approximately 4:26 p.m., CASTRO received a call

from an unknown male using a telephone number ending in 5074 (hereinafter referred to as

“UM-5074”). The following is a summary of a portion of the call: 9 UM-5074 asked CASTRO

if he still had any of the “yellow kind.” CASTRO acknowledged he did. UM-5074 asked

CASTRO if he could drop “8” of the “yellow” to him. CASTRO told UM-5074 that his “guys”

were out running errands but that he would send them when they got back.

               Based on my training, professional experience, and participation in this

investigation, I believe that CASTRO agreed to sell UM-5074 eight ounces of “yellow” fentanyl

to UM-5074. Further, I believe CASTRO told UM-5074 he would send his drug-runners (i.e.,

his “guys,” CRUZ-CACERES and ROSALES-MONTES) to drop off the fentanyl.
               At approximately 4:30 p.m., investigators initiated surveillance at CASTRO’s

residence on 45th Avenue in Oakland, California, where investigators believe CRUZ-CACERES



       9
         The descriptions of intercepted calls and quotations are based on initial summaries
prepared by monitors. As such, it is possible that there will be some discrepancies between the
descriptions set forth in this Affidavit, and the final transcripts if/when those transcripts are
prepared. In most cases, only portions of the selected telephone calls and text messages have
been summarized or quoted. Further, some conversations occurred in Spanish and were
summarized in English by Spanish-speaking monitors.

GILFRY AFF. IN SUPPORT OF CRIMINAL COMPL.
[UNDER SEAL]                          10
        Case 4:21-mj-70900-PMRG Document 8 Filed 05/26/21 Page 13 of 29




and ROSALES-MONTES also reside. 10 Investigators observed a 2013 Honda Civic, registered

to ROSALES-MONTES, parked in front of the residence.

               At approximately 5:50 p.m., investigators observed ROSALES-MONTES and

CRUZ-CACERES, enter the Honda Civic and drive away. Surveillance units followed the

vehicle and maintained constant surveillance.

               At approximately 6:05 p.m., the California Highway Patrol (“CHP”) observed a

broken brake light on the Honda Civic and conducted a traffic enforcement stop near Foothill

Boulevard and 64th Avenue in Oakland, California. CHP identified the driver as Jose Ivan Cruz

CRUZ-CACERES and the front passenger as Elmer ROSALES-MONTES. CHP conducted a

records inquiry and determined that CRUZ-CACERES did not possess a valid driver’s license.

CHP issued CRUZ-CACERES a citation and towed the vehicle. CHP conducted an inventory

search of the vehicle and found nothing of evidentiary value.

               At approximately 6:34 p.m. the same day, CASTRO called UM-5074. CASTRO

told UM-5074 to give him a little more time because his “guy” got pulled over by the police.

CASTRO told UM-5074 that his “guys” had UM-5074’s “stuff.” CASTRO said one of the guys

was stubborn and did not “hide the work.” CASTRO told UM-5074 he would call him if

anything happened.

               I know based on my training, professional experience, and participation in this

investigation, that drug dealers often use coded language to describe the type of narcotic and

quantity of narcotic to be sold. Further, I know that drug dealers often use the term “work” to

refer to the drugs they are trafficking. Specifically, in this investigation, investigators have

intercepted numerous communications involving CASTRO in which the term “work” appears to

be used to refer to fentanyl based on the context of the communications. I believe that CASTRO



       10
           Investigators believe CRUZ-CACEDES and ROSALES-MONTES reside at
CASTRO’s residence on 45th Avenue in Oakland based on observing them entering/leaving the
residence on numerous occasions. CRUZ-CACEDES and ROSALES-MONTES also have
vehicles registered to the same address. Further, they told CHP they lived at that address during
the traffic stop discussed herein.

GILFRY AFF. IN SUPPORT OF CRIMINAL COMPL.
[UNDER SEAL]                          11
       Case 4:21-mj-70900-PMRG Document 8 Filed 05/26/21 Page 14 of 29




is informing UM-5074 that he was concerned that his drug runners, ROSALES-MONTES and

CRUZ-CACERES, did not sufficiently conceal UM-5074’s order of fentanyl within their vehicle

(i.e., they did not “hide the work”) and that law enforcement would locate the narcotics.

               At approximately 7:37 p.m., CASTRO called UM-5074. CASTRO told UM-

5074 that the police “took the car” and that the “work” was in there. CASTRO explained that he

still has “work” and would get it ready and send it to him. Here, I believe CASTRO told UM-

5074 that he had additional fentanyl and could still supply UM-5074 with a new delivery.

               After this call, I obtained a search warrant for Honda Civic and law enforcement

executed it at approximately 9:50 p.m. Inside the glove box of the Honda Civic, a detective

found a blue towel. While unraveling the towel, the detective located a plastic bag containing a

pink powdery substance, which he suspected was fentanyl based on his training and professional

experience. Behind the blue towel, the detective located a black plastic bag that contained a

large amount of a white/yellow powdery substance, which he suspected was a different type of

fentanyl, based on his training and professional experience.

               Presumptive testing was subsequently preformed on a sample of the powdery

substance found in the Honda Civic and the test was positive for the presence of fentanyl. The

gross weight of the fentanyl found in the Honda Civic was approximately 443 grams.

               Based on my training and experience, I know that drug trafficking organizations

often use couriers to deliver controlled substances to re-distributors. The couriers often receive

payment for their work or a portion of the proceeds. And, the couriers typically know they are

transporting controlled substances because they must ensure they deliver the right quantity,

receive the appropriate amount of money in exchange from the buyer, and/or communicate with

the buyer if he/she has questions about the product.

               Here, I believe ROSALES-MONTES and CRUZ-CACERES are serving as

couriers/co-conspirators in the CASTRO DTO. This conclusion is based on a number of facts

and information, including, but not limited to: my training and experience, the intercepted

communications via the Target Telephones, the timing of ROSALES-MONTES and CRUZ-

GILFRY AFF. IN SUPPORT OF CRIMINAL COMPL.
[UNDER SEAL]                          12
       Case 4:21-mj-70900-PMRG Document 8 Filed 05/26/21 Page 15 of 29




CACERES leaving the 45th Avenue residence, and the quantity of fentanyl found inside the

Honda Civic, and ROSALES-MONTES and CRUZ-CACERES were likely en route to make the

delivery to UM-5074 at the time of the CHP stop. In short, I believe that ROSALES-MONTES,

CRUZ-CACERES, and CASTRO conspired and agreed to distribute fentanyl to other people in

the Northern District of California. I believe that the conspiracy is continuing and continued

through at least May 19, 2021 based on the facts described below as well as the fact that

investigators have intercepted calls to or from the Target Telephones consistent with the

CASTRO DTO continuing to distribute fentanyl to re-distributors as recently as May 19, 2021.

       C.      TAWASHA Purchases Fentanyl from CASTRO on or about April 27, 2021,
               which TAWASHA Possessed with Intent to Distribute

               During the course of this wiretap investigation, investigators have intercepted

communications between TAWASHA and CASTRO consistent with TAWASHA purchasing

approximately seven to ten ounces of fentanyl from CASTRO on two separate occasions.

               On or about April 27, 2021, in the early morning hours, FBI intercepted the

following text messages between CASTRO and the user a telephone number ending in 8080,

who investigators subsequently identified as TAWASHA: 11

       TAWASHA:       Im on my way
       TAWASHA:       Can you meet me tonight or should I wait?
       TAWASHA:       Ill take one blue and 6’yellow
       CASTRO:        Ok
       TAWASHA:       U have one blue forsure?
       CASTRO:        Yes sir
       CASTRO:        Yes but not tomorrow I’m going to get some blue, possibly at 9 in the
                      morning I can go deliver it to your house tomorrow night.
       TAWASHA:       Me no comprende?
       TAWASHA:       U have it tonight or no?
       CASTRO:        I mean today at 8 in the morning, possibly at 10 in the morning I’m going
                      to get a good amount of blue, so I could go deliver it to you at night at
                      your place.
       CASTRO:        Yes 1 blue
       TAWASHA:       Oh ok
       TAWASHA:       Ill Be there in 45 min

       11
          A phone was seized from TAWASHA during his arrest on or about April 29, 2021,
which is described below. Detectives reviewed the seized phone and determined the telephone
number associated with the phone was the telephone number ending in 8080. Further, I obtained
subscriber information for the telephone number ending in 8080 from T-Mobile and the
subscriber is listed a Jihad Tawasha.

GILFRY AFF. IN SUPPORT OF CRIMINAL COMPL.
[UNDER SEAL]                          13
       Case 4:21-mj-70900-PMRG Document 8 Filed 05/26/21 Page 16 of 29




       TAWASHA:        45?
       CASTRO:         I’m going to put my phone on speakerphone, call me when you’re here.
       TAWASHA:        Ok i
       TAWASHA:        20
               Shortly after these text communications, at approximately 2:47 a.m., CASTRO

received an incoming call from TAWASHA. Due to the time of the call, it was not monitored.

Investigators reviewed CASTRO’s GPS ping location data which showed his phone at his 45th

Avenue residence in Oakland, California, which is within the Northern District of California.

               On or about April 27, 2021, in the late evening, FBI intercepted the following text

messages between CASTRO and TAWASHA:

       TAWASHA: U get blue
       CASTRO:  I still think I have about 3 left, possibly two I’m not sure, but I do have
                two, possibly I have three.
       TAWASHA: Can you save them for me please? I will get them in the morning. 100%
       CASTRO:  Ok sir

                Based on my training and experience I know that drug dealers often use coded

language to describe the type of narcotic and quantity of narcotic to be sold. I also know that

drug dealers often refer to quantities of narcotics with short-hand numbers and that re-

distributors often deal in ounces. In the first conversation, I believe that CASTRO agreed to sell

one ounce of “blue” fentanyl and six ounces of “yellow” fentanyl. Based on my training and

professional experience, I believe the amount of suspected fentanyl involved in the transaction

(i.e., approximately seven ounces) is consistent with distribution quantities of the controlled

substances and is much greater than the amount a drug addict would typically purchase for

personal use. I believe that CASTRO distributed fentanyl to TAWASHA in the early morning

hours of April 27, 2021 and that TAWASHA possessed the fentanyl for purposes of distributing

it to others. In the conversation late in the evening the same day, I believe CASTRO agreed to

sell TAWASHA two to three additional ounces of “blue” fentanyl and that TAWASHA planned

to pick up the fentanyl from CASTRO the following morning.

               On or about April 29, 2021, Modesto Police Department (“MPD”) officers

observed a Volkswagen sedan (hereinafter “the Volkswagen”) pull into a gas station parking lot.


GILFRY AFF. IN SUPPORT OF CRIMINAL COMPL.
[UNDER SEAL]                          14
        Case 4:21-mj-70900-PMRG Document 8 Filed 05/26/21 Page 17 of 29




A man sitting in the front passenger seat got out of the vehicle and began walking through the

parking lot, where he met another man and appeared to conduct a hand-to-hand transaction. The

man who had got out of the passenger seat of the Volkswagen then got into the passenger seat of

another vehicle and left the parking lot.

                The Volkswagen left the parking lot and MPD followed it. Officers stopped the

Volkswagen after they observed it speeding. The driver, who was subsequently identified as

TAWASHA, identified himself to officers as Joey Tawasha and provided a birth date in 1979. 12

Officers thought the driver appeared much younger than someone born in 1979 and saw a folded

piece of foil back on the floorboard, which the officer believed to be drug paraphernalia based on

his training and experience. The officer asked TAWASHA to retrieve the foil and hand it to him

so he could inspect it. TAWASHA grabbed the foil and told the officer it was nothing, but he

did not hand it to the officer. The officer saw black, burnt, residue on the foil, which he

suspected was residue resulting from smoking heroin from the foil. The officer told TAWASHA

he was being detained asked him to step out of the vehicle. When TAWASHA stepped out of

the vehicle, the officer saw that TAWASHA had been sitting on a plastic bag that was full of

multiple bindles of a white powdery substance. While the officer believed the white powdery

substance was cocaine, a sample from the powder was subsequently tested and found to contain

fentanyl. Multiple plastic bags of the white powdery substance were weighed individually, and

the total gross weight of the bags was approximately 137 grams. This quantity is consistent with

a distribution amount of the controlled substance based on my training and experience.

                Officer’s found a California Identification card in TAWASHA’s wallet with the

name of Jihad TAWASHA. According to a records inquiry, TAWASHA was on Post Release

Community Supervision (“PRCS”) and had three outstanding warrants for his arrest.

TAWASHA was also found to be in possession of $2,319 dollars. Based on my training and

experience, individuals engaged in distributing narcotics often carry large amounts of cash that is



       12
            TAWASHA’s actual birth date is in 1987.

GILFRY AFF. IN SUPPORT OF CRIMINAL COMPL.
[UNDER SEAL]                          15
        Case 4:21-mj-70900-PMRG Document 8 Filed 05/26/21 Page 18 of 29




the proceeds of their drug trafficking activity or for the purpose of purchasing additional

narcotics for sale.

                I reviewed a criminal history report for TAWASHA. According to the report,

TAWASHA has been convicted of multiple drug-related offenses, including a conviction in 2020

for possessing/purchasing for sale a narcotic or controlled substance, in violation of California

Health and Safety Code § 11351.

                Based on my training and experience and the facts described in this affidavit, I

believe that TAWASHA knowingly possessed the fentanyl found in the Volkswagen for the

purposes of distributing it to other people. Further, based on the communications intercepted

between CASTRO and TAWASHA on or about April 27, 2021 and the fact that TAWASHA

was found in possession of over 100 grams of fentanyl on or about April 29, 2021, I believe that

TAWASHA purchased the fentanyl found in the Volkswagen from CASTRO and TAWASHA

had obtained it within the Northern District of California with the intent to distribute it to others.




Redacted

GILFRY AFF. IN SUPPORT OF CRIMINAL COMPL.
[UNDER SEAL]                          16
      Case 4:21-mj-70900-PMRG Document 8 Filed 05/26/21 Page 19 of 29




Redacted



GILFRY AFF. IN SUPPORT OF CRIMINAL COMPL.
[UNDER SEAL]                          17
      Case 4:21-mj-70900-PMRG Document 8 Filed 05/26/21 Page 20 of 29




Redacted



GILFRY AFF. IN SUPPORT OF CRIMINAL COMPL.
[UNDER SEAL]                          18
      Case 4:21-mj-70900-PMRG Document 8 Filed 05/26/21 Page 21 of 29




Redacted



GILFRY AFF. IN SUPPORT OF CRIMINAL COMPL.
[UNDER SEAL]                          19
      Case 4:21-mj-70900-PMRG Document 8 Filed 05/26/21 Page 22 of 29




Redacted



GILFRY AFF. IN SUPPORT OF CRIMINAL COMPL.
[UNDER SEAL]                          20
      Case 4:21-mj-70900-PMRG Document 8 Filed 05/26/21 Page 23 of 29




Redacted



GILFRY AFF. IN SUPPORT OF CRIMINAL COMPL.
[UNDER SEAL]                          21
      Case 4:21-mj-70900-PMRG Document 8 Filed 05/26/21 Page 24 of 29




Redacted



GILFRY AFF. IN SUPPORT OF CRIMINAL COMPL.
[UNDER SEAL]                          22
      Case 4:21-mj-70900-PMRG Document 8 Filed 05/26/21 Page 25 of 29




Redacted



GILFRY AFF. IN SUPPORT OF CRIMINAL COMPL.
[UNDER SEAL]                          23
        Case 4:21-mj-70900-PMRG Document 8 Filed 05/26/21 Page 26 of 29




Redacted


        F.      LAUGHREN Purchases Fentanyl from CASTRO on or about May 12, 2021,
                which LAUGHREN Possessed with Intent to Distribute

                Investigators have intercepted numerous communications via the Target

 Telephones wherein LAUGHREN appears to order fentanyl from CASTRO. LAUGHREN

 typically requested anywhere from a half ounce to an ounce of fentanyl. In total, investigators

 believe that LAUGHREN has purchased over one half-pound of fentanyl from CASTRO since




Redacted
 GILFRY AFF. IN SUPPORT OF CRIMINAL COMPL.
 [UNDER SEAL]                          24
        Case 4:21-mj-70900-PMRG Document 8 Filed 05/26/21 Page 27 of 29




approximately April 21, 2021. This quantity of fentanyl is consistent with a distribution-level of

the controlled substance.

               On May 12, 2021, at 3:12 p.m., FBI intercepted a call to CASTRO from the user

of a telephone number ending in 6855, who FBI had previously identified as LAUGHREN. 18

LAUGHREN asked CASTRO if he had a “half ounce.” CASTRO said he did. LAUGHREN

told CASTRO he was going to come over in “20 minutes.”

               At approximately 4:30 p.m., surveillance units observed a Volkswagen sedan

(hereinafter, “LAUGHREN’s Volkswagen”), park near CASTRO’s residence on 45th Avenue in

Oakland. Surveillance units had been conducting surveillance on LAUGHREN earlier in the day

and had observed him driving the vehicle.

               At approximately 4:30 p.m., LAUGHREN called CASTRO. LAUGREN told

CASTRO that he was parked outside and to come to his car so he could show CASTRO

something. CASTRO asked if LAUGHREN wanted “half.” LAUGHREN replied, yes, just a

half.

               Shortly afterwards, investigators observed CASTRO exit his residence on 45th

Avenue in Oakland, approach LAUGHREN, and appear to give him something in a manner

consistent with a hand-to-hand drug transaction.

               At approximately 4: 41 p.m., CASTRO and LAUGHREN parted ways.

Surveillance units followed LAUGHREN’s Volkswagen and maintained constant surveillance.

               At approximately 4:50 p.m., a CHP officer driving a marked patrol car observed

the driver of the Volkswagen throw what appeared to be a cigarette out the window and

conducted a traffic stop.

               The CHP officer asked LAUGHREN for his driver’s license, registration, and


        18
          FBI obtained subscriber information from the service provider for the telephone
number that indicates that William LAUGHREN is the subscriber for the telephone. Further,
investigators have seen LAUGHREN meet with CASTRO in a manner consistent with meetings
arranged with the telephone number ending in 6855. Investigators have also seen LAUGHREN
using his cellular phone at the same time investigators were intercepting a call between
LAUGHREN and CASTRO.

GILFRY AFF. IN SUPPORT OF CRIMINAL COMPL.
[UNDER SEAL]                          25
          Case 4:21-mj-70900-PMRG Document 8 Filed 05/26/21 Page 28 of 29




proof of insurance, none of which LAUGHREN was able to provide. The CHP officer asked

LAUGHREN to step out of the vehicle so that he could get a proper identification.

               LAUGHREN verbally identified himself to the CHP officer, who subsequently

conducted a records inquiry. The records inquiry indicated that LAUGHREN had a suspended

driver’s license. The CHP officer searched LAUGHREN’s person and found a clear plastic bag

containing a white powdery substance. LAUGHREN told the officer that the powdery substance

was cocaine.

               Later, presumptive testing was conducted on the seized substance and it tested

positive for the presence of fentanyl.

               Based on my training and experience, as well as the facts described in this

Affidavit, I believe there is probable cause to conclude that LAUGHREN knowingly possessed

the fentanyl found during this stop, obtained it from CASRTRO, and intended to distribute it to

others.

                                         REQUEST TO SEAL

               The Investigative Agencies criminal investigation of the Target Subjects is

ongoing. In addition, it is my belief that prematurely revealing the specific details, facts, and

reasons for the search, as detailed in this affidavit, may cause flight from prosecution, destruction

of or tampering with evidence, intimidation of potential witnesses, and otherwise seriously

jeopardize the investigation (e.g., prompting changes in behavior or notification of confederates).

Accordingly, I request that the Court issue an order that the criminal complaint, this affidavit in

support of the application for criminal complaint and arrest warrant, the application for the

criminal complaint and arrest warrant, and the attachments thereto, along with the order itself, be

filed under seal until further order of the Court.



//

//

//

GILFRY AFF. IN SUPPORT OF CRIMINAL COMPL.
[UNDER SEAL]                          26
       Case 4:21-mj-70900-PMRG Document 8 Filed 05/26/21 Page 29 of 29




                                       CONCLUSION

              Based on the information set forth in the paragraphs above, I submit that there is

probable cause that the Target Subjects committed the crimes described above.



                                                      /s/ Joshua Gilfry
                                                    ________________________________
                                                    JOSHUA GILFRY
                                                    Task Force Officer
                                                    Federal Bureau of Investigation



Sworn to before me over the telephone and signed by me pursuant to Fed. R. Crim. P. 4.1 and
4(d) on this 24th
             ___ day of May 2021.



_________________________________________
HONORABLE KANDIS A. WESTMORE
United States Magistrate Judge




GILFRY AFF. IN SUPPORT OF CRIMINAL COMPL.
[UNDER SEAL]                          27
